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2                                                                 The Honorable John C. Coughenour

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4
                                     UNITED STATES DISTRICT COURT
5                                   WESTERN DISTRICT OF WASHINGTON
                                              AT SEATTLE
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7
     UNITED STATES OF AMERICA,                            No. CR20-032 JCC

8                      Plaintiff,
                                                          ORDER GRANTING MOTION TO SEAL
9
            v.                                            EXHIBITS TO DEFENDANT’S
     KALEB COLE,                                          OBJECTION TO GOVERNMENT’S
10                                                        PROPOSED SOUND CLIP EXHIBITS
11                     Defendant.

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            THIS MATTER comes before the Court upon the defendant’s motion to seal the exhibits
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     to his objections to the Government’s proposed sound clip exhibits (Dkt. No. 232). Having
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     considered the entirety of the records and file herein, the Court hereby grants this motion. It is

17   ORDERED that the exhibits (Dkt. No. 233) be allowed to remain under seal due to the nature of

18   their contents.

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            DATED this 15th day of October 2021.
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23
                                                          A
                                                          John C. Coughenour
                                                          UNITED STATES DISTRICT JUDGE
24   //

25   //

      ORDER GRANTING MOTION TO SEAL EXHIBITS                      BLACK & ASKEROV, PLLC
      TO DEFENDANT’S OBJECTION TO                              705 Second Avenue, Suite 1111
      GOVERNMENT’S PROPOSED SOUND CLIP                               Seattle, WA 98104
      EXHIBITS (Kaleb Cole; No. CR20-032 JCC) - 1             206.623.1604 | Fax: 206.658.2401
             Case 2:20-cr-00032-JCC Document 256 Filed 10/15/21 Page 2 of 2




     Presented by:
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     BLACK & ASKEROV, PLLC
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     Christopher Black
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     Attorney for Kaleb Cole
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      ORDER GRANTING MOTION TO SEAL EXHIBITS            BLACK & ASKEROV, PLLC
      TO DEFENDANT’S OBJECTION TO                    705 Second Avenue, Suite 1111
      GOVERNMENT’S PROPOSED SOUND CLIP                     Seattle, WA 98104
      EXHIBITS (Kaleb Cole; No. CR20-032 JCC) - 2   206.623.1604 | Fax: 206.658.2401
